
PARIENTE, J.
We have for review the opinion in State v. Falkenstein, 720 So.2d 1143 (Fla. 4th DCA 1998),1 which certified conflict with the opinions in State v. Holland, 689 So.2d 1268 (Fla. 1st DCA 1997), and State v. Perry, 716 So.2d 327 (Fla. 2d DCA 1998). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const. For the reasons expressed in our opinion in Hayes v. State, 750 So.2d 1 (Fla.1999), the decision of the Fourth District is hereby quashed. We remand to the district court for proceedings consistent with this opinion.
It is so ordered.
*555HARDING, C.J., and SHAW, WELLS, ANSTEAD, LEWIS and QUINCE, JJ., CONCUR.

. The Fourth District consolidated the State’s appeal of the trial court’s dismissal of drug trafficking charges against both Lisa Brown and her co-defendant Stephen Falkenstein. See State v. Falkenstein, 720 So.2d 1143, 1144 (Fla. 4th DCA 1998). Falkenstein subsequently voluntarily dismissed his petition seeking discretionary review in this Court. See Falkenstein v. State, 743 So.2d 11 (Fla.1999).

